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                            EXHIBIT 33
           to Verified Complaint for Injunctive Relief & Damages
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       UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

 NATIONAL RIFLE ASSOCIATION
 OF AMERICA, INC.,

             Plaintiff,

 v.                                  Case No. 4:18cv137-MW/CAS

 PAM BONDI, in her official
 capacity as Attorney General
 of Florida, et al.,

            Defendants.
 __________________________/

                  ORDER DENYING
       MOTION TO PROCEED UNDER PSEUDONYMS

       The National Rifle Association of America, Inc., (“NRA”)

 filed this lawsuit on March 9, 2018. ECF No. 1. At the time, the

 NRA was the only plaintiff. Id. Since then, the NRA has moved to

 amend its original complaint and add a second plaintiff—a

 nineteen-year-old female identified as Jane Doe. ECF No. 18.

 Among other changes, the amended complaint also includes

 allegations about a nineteen-year-old male identified as John Doe.

 ECF No. 18-1, at 9–10.

       Ordinarily, parties referred to in a complaint must be

 identified by their real names. The Federal Rules of Civil

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 Procedure specifically provide that “[t]he title of the complaint

 must name all the parties.” Fed. R. Civ. P. 10(a). Similarly, courts

 have long recognized that “[l]awsuits are public events” and that

 the public has a “legitimate interest in knowing all of the facts

 involved [in a case], including the identities of the parties.” Doe v.

 Frank, 951 F.2d 320, 322–24 (11th Cir. 1992). But that doesn’t

 mean that parties can never use pseudonyms. See Plaintiff B v.

 Francis, 631 F.3d 1310, 1315 (11th Cir. 2011) (explaining that Rule

 10(a)’s naming requirement “is not absolute”). Indeed, even though

 “[t]he Federal Rules of Civil Procedure do not include provisions

 for plaintiffs wishing to proceed anonymously[,] . . . courts have

 allowed plaintiffs to conceal their true identities . . . in a select

 number of cases.” Rose v. Beaumont Indep. Sch. Dist., 240 F.R.D.

 264, 266 (E.D. Tex. 2007) (citations omitted).

       Accordingly, when the NRA moved to amend its complaint,

 it also filed a motion for leave to proceed under pseudonyms. ECF

 No. 19. Defendants opposed the motion, id. at 1, so this Court

 ordered Defendants to file a response and permitted the NRA to

 file a reply. Having considered the filings and the applicable law,

 this Court finds that the NRA’s motion to proceed under

 pseudonyms, ECF No. 19, is due to be DENIED.

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                                 I. Background

        The Marjory Stoneman Douglas High School Public Safety

 Act 1 (“Act”) became part of Florida law on March 9, 2018. Among

 other things, the Act provides that “[a] person younger than 21

 years of age may not purchase a firearm.” See Ch. 2018-3, § 11,

 Laws of Fla. (codified as § 790.065(13), Fla. Stat.). The NRA sued

 to challenge this portion of the act (the “ban”) and argues that it

 violates    the    Second      Amendment 2        to    the    United     States

 Constitution. ECF No. 1. Specifically, the NRA mounts both a

 facial challenge (i.e., a claim that no set of circumstances exists

 under which the ban would be valid) 3 and an as-applied challenge

 (i.e., a claim that applying the ban to females between the ages of


        1  See Ch. 2018-3, § 1, Laws of Fla. The Act purports to address “the crisis
 of gun violence, including but not limited to, gun violence on school campuses.”
 Id. § 2. It was passed shortly after the Stoneman Douglas High School shooting
 in Parkland, Florida. See generally Stoneman Douglas High School Shooting,
 Wikipedia, https://en.wikipedia.org/wiki/Stoneman_Douglas_High_School_
 shooting [https://perma.cc/65GK-QMRW].

        2 The Second Amendment reads: “A well regulated Militia, being
 necessary to the security of a free State, the right of the people to keep and
 bear Arms, shall not be infringed.” U.S. Const. amend. II. The Supreme Court
 has held that the Second Amendment confers an individual right to keep and
 bear arms, see District of Columbia v. Heller, 554 U.S. 570 (2008), and that “the
 Second Amendment right is fully applicable to the States,” McDonald v. City
 of Chicago, 561 U.S. 742, 750 (2010).

        3 See United States v. Salerno, 481 U.S. 739, 745 (1987) (“A facial
 challenge to a legislative Act is, of course, the most difficult challenge to mount
 successfully, since the challenger must establish that no set of circumstances
 exists under which the Act would be valid.”).
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 18 and 21 is unconstitutional). See id. at 8–10. The NRA also raises

 the same facial and as-applied challenges under the Equal

 Protection clause of the Fourteenth Amendment. Id. at 10–12.

       The NRA’s amended complaint includes the same four

 counts as its original complaint but also supplements those counts

 by making specific references to alleged NRA members. For

 example, in Count 2 (the as-applied Second Amendment claim) the

 amended complaint alleges that the ban “particularly infringes

 upon . . . the Second Amendment rights of Plaintiff Jane Doe.” ECF

 No. 18-1, at 12. Elsewhere, the amended complaint refers to “John

 Doe” and notes that “[b]ut for Section 790.065(13)’s blanket ban,

 Mr. Doe would purchase a long-gun forthwith.” Id. at 10.

       In moving for leave to proceed with the pseudonyms

 mentioned above, the NRA also filed three supporting affidavits.

 The first affidavit is signed by Jane Doe and explains that she is a

 “19-year-old female resident of Florida” who “desire[s] to

 participate in this litigation as a plaintiff, to vindicate [her]

 constitutional right to keep and bear arms.” ECF No. 20-1. The

 affidavit   further   explains   that,   “[b]ecause   of   the   highly

 controversial nature of this litigation[,]” Jane Doe is “afraid that if

 [her] association with the lawsuit became public, [she] would be

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 subjected to harassment, intimidation, threats, and potentially

 even physical violence.” Id.

        The second affidavit is signed by John Doe and contains

 representations similar to those in Jane Doe’s affidavit. See ECF

 No. 20-2.

        Finally, the third affidavit is signed by Marion Hammer (a

 former president of the NRA). ECF No. 20-3. In her affidavit, Ms.

 Hammer states that she “frequently represent[s] the NRA’s

 interests in the State of Florida” and has “been identified in

 national news stories associated with [this] suit.” Id. at 1. Ms.

 Hammer further explains that, “[a]fter news of the Parkland

 shooting broke,” she started receiving “numerous harassing emails

 and phone calls threatening [her] life and physical well-being” that

 “continue to this day.” 4 Id. at 2. Ms. Hammer attached copies of

 some of those harassing emails to her affidavit. Id. at 5–18.




        4 It is clear that much (if not all) of the harassment Ms. Hammer has
 suffered is the result of her involvement with the NRA and this lawsuit.
 Several of the emails Ms. Hammer attached to her affidavit specifically refer
 to guns, shootings, and related terms. Due to the offensive nature of the emails,
 this Court chooses not to repeat any specific language here. Suffice it to say,
 the emails are hateful and abhorrent.
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                               II. Analysis

       As this Court has already noted, “[t]he Federal Rules of Civil

 Procedure do not include provisions for plaintiffs wishing to

 proceed anonymously.” Rose, 240 F.R.D. at 266. Moreover, the

 Supreme Court has yet to announce a standard that courts should

 apply under these circumstances. Cf., e.g., Qualls v. Rumsfeld, 228

 F.R.D. 8, 10 (D.D.C. 2005) (noting that the Supreme Court has not

 “expressly condoned th[e] practice” but has “from time to time . . .

 permitted pseudonymous litigation to proceed without comment”).

 Consequently, the standards for determining when the use of

 pseudonyms is appropriate have been entirely crafted by the lower

 federal courts. See Jayne S. Ressler, Privacy, Plaintiffs, and

 Pseudonyms: The Anonymous Doe Plaintiff in the Information Age,

 53 U. Kan. L. Rev. 195, 225–26 (2004) [hereinafter PPP].

       If it were entirely up to this Court, this Court would not

 hesitate to grant the NRA’s motion. One need only look to the

 harassment suffered by some of the Parkland shooting survivors

 to appreciate the vitriol that has infected public discourse about

 the Second Amendment. 5 And this Court has no doubt that the



       5  There are legions of news reports describing the harassment and
 threats suffered by the Parkland shooting survivors. See, e.g., Chantal Da
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 harassment goes both ways; Ms. Hammer’s affidavit proves just

 that. See ECF No. 20–3. People—especially teenagers—should not

 have to subject themselves to threats of violence, continued

 harassment, 6 and a concerning amount of public scrutiny just to

 share their views about the Second Amendment (whatever those

 views may be).

        But it’s not entirely up to this Court. That is, this Court is

 bound to follow precedent set by the Eleventh Circuit Court of

 Appeals. See, e.g., McGinley v. Houston, 361 F.3d 1328, 1331 (11th

 Cir. 2004) (“A circuit court’s decision binds the district courts

 sitting within its jurisdiction . . . .”); cf. also Hand v. Scott, No. 18-

 11388-G, 2018 WL 1959634, at *2 (11th Cir. Apr. 25, 2018)

 (reminding this Court that “binding precedent . . . cannot . . .


 Silva, Florida School Shooting Survivors Receiving Death Threats, Newsweek
 (Feb. 26, 2018), http://www.newsweek.com/florida-school-shooting-survivors-
 death-threats-819484 [https://perma.cc/P2UY-MMVG]. Some of the survivors
 who have taken more prominent roles in public discourse have even been the
 subject of conspiracy theories. See, e.g., Daniel Arkin & Ben Popken, How the
 Internet’s Conspiracy Theorists Turned Parkland Students into ‘Crisis Actors’,
 NBC News (Feb. 21, 2018), https://www.nbcnews.com/news/us-news/how-
 internet-s-conspiracy-theorists-turned-parkland-students-crisis-actors-
 n849921 [https://perma.cc/B3AM-RM3N].

        6As a point of reference, family members of a victim from the Sandy
 Hook shooting continue to receive death threats “[m]ore than five years after”
 the shooting occurred. Bethania Palma, Are Parkland School Shooting
 Survivors Receiving Death Threats from NRA Members?, Snopes (Feb. 27,
 2018),    https://www.snopes.com/news/2018/02/27/parkland-school-shooting-
 survivors-receiving-death-threats-nra-members/      [https://perma.cc/UUU9-
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 simply be ignored”). And that precedent is unfortunately

 restrictive here.

       The Eleventh Circuit has made it clear that pseudonyms

 may only be used in “exceptional” cases, Frank, 951 F.2d at 323,

 and that there is “a strong presumption in favor of parties’

 proceeding in their own names,” Francis, 631 F.3d at 1315. That

 presumption can only be overcome where the party seeking to

 proceed pseudonymously shows that they have “a substantial

 privacy    right    which    outweighs    the    ‘customary     and

 constitutionally-embedded presumption of openness in judicial

 proceedings.’” Frank, 951 F.2d at 323 (quoting Doe v. Stegall, 653

 F.2d 180, 186 (5th Cir. Unit A Aug. 1981)). In determining whether

 Jane and John Doe have such a right, this Court starts its analysis

 with the following three factors: (1) whether they are “seeking

 anonymity challenging government activity,” (2) whether they will

 be “required to disclose information of the utmost intimacy”, and

 (3) whether they will be “compelled to admit their intention to

 engage in illegal conduct and thus risk criminal prosecution.” See

 Francis, 631 F.3d at 1316.

       This Court finds that the first factor does not weigh in favor

 of using pseudonyms in this case (although it doesn’t weigh against

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  such use either). If the NRA were suing private parties, then there

  would be a risk of “damage to [those parties’] good names and

  reputation” as well as a risk of “economic harm.” See S. Methodist

  Univ. Ass’n of Women Law Students v. Wynne & Jaffe, 599 F.2d

  707, 713 (5th Cir. 1979) [hereinafter SMU]. But the NRA is not

  suing private parties here; it is suing government actors in their

  official capacities. See ECF No. 18-1, at 1. Suits challenging the

  constitutional, statutory or regulatory validity of government

  activity (like this case) “involve no injury to the Government’s

  ‘reputation.’” SMU, 599 F.2d at 713. Accordingly, this first factor

  only has a neutral effect. Cf. Frank, 951 F.2d at 324 (“[T]he fact

  that Doe is suing the Postal Service does not weigh in favor of

  granting Doe’s request for anonymity.”); cf. also Roe v. Aware

  Women Ctr. for Choice, Inc., 253 F.3d 678, at 686 (11th Cir. 2001)

  (“[N]o published opinion that we are aware of has ever permitted

  a plaintiff to proceed anonymously merely because the complaint

  challenged government activity.”).

        As to the second factor, the Eleventh Circuit has explained

  that “the ‘information of utmost intimacy’ standard applies to

  cases involving issues such as abortion . . . and prayer and personal

  religious beliefs.” Francis, 631 F.3d at 1316 (citation omitted). One

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 would think that the standard covers more, but apparently it

 doesn’t. Indeed, courts have denied the use of pseudonyms in cases

 involving matters that many would consider extremely private. 7

        Here, the NRA has not really identified any information of

 “utmost intimacy” that would be revealed if Jane and John Doe

 were forced use their real names. All we know so far is that they’re

 nineteen years old, they live in Florida, they’re members of the

 NRA, they haven’t been convicted of a felony, they haven’t been

 adjudicated mentally defective, they want to buy firearms, and

 they want to support the NRA with this lawsuit. See ECF No. 18-




        7  Cf. Francis, 631 F.3d at 1316 (noting that “courts have often denied
 the protection of anonymity in cases where plaintiffs allege sexual assault,
 even when revealing the plaintiff’s identity may cause her to ‘suffer some
 personal embarrassment’” (quoting Frank, 951 F.2d at 324)); Frank, 951 F.2d
 at 324 (finding “no abuse of discretion in the district court’s implicit conclusion
 that the stigma involved in Doe’s disclosure [of alcoholism] does not rise to the
 level necessary to overcome the presumption of openness in judicial
 proceedings); Luckett v. Beaudet, 21 F. Supp. 2d 1029, 1030 n.1 (D. Minn 1998)
 (“Even in the abortion context, anonymity is not automatic.”); Doe v. Goldman,
 169 F.R.D. 138, 141 (D. Nev. 1996) (police officer was concerned that an
 allegation that he had attempted suicide by putting a gun to his head would
 stigmatize him in the employment context; court held that there was “no risk
 of stigma sufficient to overcome the presumption against proceeding under a
 fictitious name”); Doe v. Bell Atl. Bus. Sys. Servs., Inc. 162 F.R.D. 418, 422 (D.
 Mass. 1995) (plaintiff claimed she was sexually assaulted, was concerned she
 that she was infected with HIV as a result, and feared that she would suffer
 “intense embarrassment and shame within her community”; court held
 plaintiff had “not demonstrated such a compelling need for privacy as to
 outweigh the rights of the defendants and the public to open proceedings”); see
 also PPP, 53 U. Kan. L. Rev. at 196 (noting that relatives of 9-11 victims who
 were “grieving and wary of publicity” were denied their request to pursue their
 claims anonymously).
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 1; ECF No. 20-1; ECF No. 20-2. This type of information does not

 raise the same privacy concerns as the information at issue in

 cases where pseudonyms have been allowed. Cf. SMU, 599 F.2d at

 712–13 (collecting cases and listing “birth control, abortion,

 homosexuality, [and] the welfare rights of illegitimate children or

 abandoned families” as examples of “matters of a sensitive and

 highly personal nature” (footnotes omitted)).

       Finally, the third factor does not help the NRA either. That

 is, there is no information in the record suggesting that Jane or

 John Doe have engaged in criminal activity or that they intend to

 do so. Nor has the NRA alleged that such information may become

 part of this case in the future. Accordingly, none of the three

 factors weigh in favor of using pseudonyms.

       Of course, none of these three factors take into account Jane

 and John Doe’s concerns about the potential harassment and

 threats they face. To be clear, this Court does not intend to

 diminish those concerns. This Court recognizes that it has

 “discretion” 8 and “should carefully review all the circumstances of

 a given case” before deciding “whether the customary practice of



       8 Perhaps even “broad discretion.” See Francis, 631 F.3d at 1320
 (Moody, J., dissenting).
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 disclosing the plaintiff’s identity should yield to the plaintiff’s

 privacy concerns.” See Frank, 951 F.2d at 323. Indeed, the three

 factors this Court has considered so far “were not intended as a

 ‘rigid, three-step test for the propriety of party anonymity.’” Id.

 (quoting Stegall, 653 F.2d at 185). Rather, courts have also

 considered additional factors “such as whether the plaintiffs were

 minors, whether they were threatened with violence or physical

 harm by proceeding in their own names, and whether their

 anonymity posed a unique threat of fundamental unfairness to the

 defendant.” Francis, 631 F.3d at 1316 (citations omitted).

       But even when this Court takes into account the threats that

 have been made against Ms. Hammer—as well as Jane and John

 Doe’s concerns that they’ll potentially receive similar threats—it

 does not seem this case fits the mold. That is, even though this

 Court ostensibly has discretion to grant the NRA’s motion, the

 precedent that binds this Court seems to counsel against such use.

 One need only consider the case Doe v. Stegall 9 to understand why.




       9  Stegall was decided by the former Fifth Circuit in August 1981. See
 653 F.2d at 180. The Eleventh Circuit has adopted as binding precedent all
 decisions of the former Fifth Circuit handed down prior to October 1, 1981.
 Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981).
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        In Stegall, a mother brought suit on behalf of her two minor

 children to complain about “religiously-oriented ceremonies” that

 were being conducted at the children’s middle school. 653 F.2d at

 181–82. “Fearing harassment and violence directed against [her]

 family generally and the [two] children in particular should their

 names be publicly disclosed, the [mother] asked that [she and the

 children] be permitted to proceed under fictitious names.” 10 Id. at

 182. The mother “offered several documentary exhibits to bolster

 [her] assertions that they might be subjected to retaliatory

 harassment or violence if their identities were publicly revealed.”

 Id. at 182 n.6. “The exhibits include[d] local newspaper reports of

 public reaction to the lawsuit voiced at a [local school-board]

 meeting.” Id. Some of the comments voiced at the meeting appear

 to be just as hateful as the emails Ms. Hammer attached to her

 affidavit in this case. 11


        10The mother agreed to share her and the children’s identities to the
 defendants and to the Court; the motion “merely sought to bar disclosure to
 the general public.” Stegall, 653 F.2d at 182.

        11 The Fifth Circuit certainly found the comments in Stegall to be
 serious. See 653 F.2d at 186 (“Evidence on the record indicates that the Does
 may expect extensive harassment and perhaps even violent reprisals if their
 identities are disclosed . . . .”). If anything, the comments in Stegall could be
 viewed as more concerning because they were made in person (i.e., unlike the
 messages Ms. Hammer received, which were all over email or phone). People
 are generally more likely to make threats anonymously than in person. Cf.
 United States v. Wheeler, 776 F.3d 736, 745 (10th Cir. 2015) (noting that the
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        Ultimately, the district court denied the mother’s request for

 anonymity. Id. at 183. On appeal, the Fifth Circuit reversed and

 held that the mother and children “should have been permitted to

 proceed under fictitious names.” Id. at 183–87. But the court didn’t

 reach that decision simply because of the threats and harassment

 that the mother was afraid of. Indeed, the court explicitly held that

 “[t]he threat of hostile public reaction to a lawsuit, standing alone,

 will only with great rarity warrant public anonymity.” Id. at 186.

 Instead, what “tip[ped] the balance” for the court was the fact that




 anonymity afforded by the internet “allow[s] authors to make menacing
 statements they would never consider making to an individual in person.”). As
 such, one might take a threat made in person much more seriously than one
 made online. But see id. (noting that “[s]everal attributes of the Internet
 substantially amplify the fear an individual can instill via threats or
 incitement”); see also United States v. Bagdasarian, 652 F.3d 1113, 1126 (9th
 Cir. 2011) (“Certainly as of fall 2008, our country’s collective experience with
 internet threats and postings that presaged tragic events made it all the more
 likely that a reasonable person would foresee that even anonymous internet
 postings would be perceived as threats.”).

         Moreover, the threats in Stegall were made by members of a very small
 community. The school-board meeting took place in Rankin County,
 Mississippi, and the middle school was housed in the town of Pelahatchie. See
 Stegall, 653 F.2d at 182. Rankin County had a population of only ~40,000 at
 the time, and Pelahatchie had a population of only ~1,500. See U.S. Dep’t of
 Commerce; Bureau of the Census, 1980 Census of Population: Number of
 Inhabitants,     Mississippi     (1982),   at    12,   21,    available    at
 https://www2.census.gov/prod2/decennial/documents/1980a_msABCD-01.pdf
 [https://perma.cc/BKG4-ERWJ]. It goes without saying that threats are more
 serious when they are made closer to home (especially when that “home” is
 relatively small).
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 there were “other factors weighing in favor of maintaining the

 [parties’] anonymity.” Id.

        For instance, the court highlighted the fact that the case

 involved complaints “of public manifestations of religious belief.”

 Id. The court went on to explain that “religion is perhaps the

 quintessentially private matter.” Id.; see also id. (emphasizing “the

 fundamental privateness of the religious beliefs” at issue). No

 court has held the same about the Second Amendment or the

 rights that it confers. What’s more, this Court has already noted

 that there are few privacy concerns at issue in this case. 12 See

 supra pp. 10–11.

        Moreover, the Stegall court also explained that “[a] final

 factor” it found “especially persuasive” was “the fact that plaintiffs

 [were] children.” 653 F.2d at 186. That is, the case involved middle-

 school children (i.e., likely no older than fourteen years old). Cf. id.

 By contrast, Jane and John Doe are both nineteen years old. ECF

 No. 18-1; ECF No. 18-2. True, they are still young, but maybe not

 quite so young that they share the same “special status and



        12Again, this Court does not intend to diminish the parties’ concerns.
 This Court recognizes that the Second Amended right is critical. This Court
 merely notes that the issue here really isn’t “privacy” per se. Instead, the issue
 is Jane and John Doe’s concerns for threats and violent reprisal.
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 vulnerability” that the “child-litigants” in Stegall had. Cf. 653 F.2d

 at 186.

       In sum, based on the precedent that binds this Court

 (particularly Doe v. Stegall), this Court finds that mere evidence of

 threats and harassment made online is insufficient to outweigh

 the customary and constitutionally-embedded presumption of

 openness in judicial proceedings. This is especially true where the

 targets of such threats and harassment are not minors and where

 the subject at issue does not involve matters of utmost intimacy.

       To be fair, a lot has changed in society since Stegall was

 decided. Today we have the internet, social media, and the 24-hour

 news cycle. What this means is that if a person attaches their name

 to a lawsuit—and especially if that lawsuit is sensational—then

 everyone will quickly be made aware of it. Articles get posted

 online, and the responding comments, tweets, and whatever-else-

 have-yous often devolve into a rhetorical barrage of hate.

 Unfortunately, it seems the internet just doesn’t always bring out

 the best in us.




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        Maybe the law should be modified to reflect these changes. 13

 But it’s not this Court’s job to change the law; this Court’s job is to

 apply the law. Cf., e.g., ECF No. 8, at 3 (denying a motion to

 intervene and explaining that “[i]t is not this Court’s job to fashion

 new laws.”). And the law unfortunately directs that the NRA’s

 motion must be denied.

        Accordingly,

        IT IS ORDERED:

             1. The NRA’s motion to proceed under pseudonyms, ECF

               No. 19, is DENIED.

             2. The NRA must file its amended complaint—without

               pseudonyms—no later than May 21, 2018.

        SO ORDERED on May 13, 2018.

                                     s/Mark E. Walker
                                     United States District Judge




        13See, e.g., PPP, 53 U. Kan. L. Rev. at 195 (“Rule 10(a) imposes a cost
 that could not have been foreseen [when it was promulgated] in 1938—an
 invasion of privacy. The burden of this new expense is shared by both plaintiffs
 and society alike, as a result of a judicial system that often appears to value
 openness at any price. The time has come, therefore, for a more liberal
 approach to pseudonymous plaintiffs.”).
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